                                                          EXHIBIT
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                    DELTA DIVISION

   STATE OF KANSAS,                               §
  ETAL.                                          §
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          Plaintiffs,                            §
                                                 §
  v.                                             §
  MERRICK GARLAND,                               jj Civil Actio No, 2:24-cv-88
  ET. AL                                         §
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          Defendants,                            §
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                          DECLARATION OF PHILLIP JOURNEY

I, Phillip Jo ey, declare as follows:

   1. lam Phillip Journey. I am over the age of 18 and a U.S. citizen. I make this declaration

       in support of Plaintiffs Motion for Stay / Preliminary Injunction. I have personal

       knowledge of the facts contained in this declaration unle otherwi e stated. I could

       competently testify as to the contents of this Declaration if called upon to do so.

   2. I currently serve as a state court judge in Kansas in Division 1, 18th Judicial District. I

       am also a shooting sports coach in rifle and pistol for 4-H and a master high-power rifle

       instructor for the division of civilian marksmanship. I am a law-abiding person, eligible

       to possess firearms under state and federal law.
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3. I am a firearms obbyist and enthusiast who maintains a large personal collection of

    firearms that includes handguns and firearms idely considered self-defense weapons. I

   have been a gun owner for over fou decades and am an avid supporter of the right to

   keep and bear arms. I served on the board of the Kansas State Rifle Association for 24

   years. While serving in the Kansas Senate from 2003 to 2008,1 authored 30 bills

   including the right to carry concealed weapons and range protection. I have taught more

   than 5,000 Kansas youth as a hunter education instructor.

4. I attend at least 4-5 gun shows every year. At most of those gun shows I buy firearms

   and I sell firearms from my personal collection. I have bought and sold firearms both

   from licensed dealers and other p ivate collectors and hobbyists like myself. I presently

   have a large personal collection of firea ms that I have accumulated over many years and

   which I actively seek to enhance my collection on different themes by adding firearms

   that I find particularly interesting in terms of history, design and craftmanship. In the

   course of maintaining my collection, I sell firearms for various reasons, such as to trade

   up to a nicer model or better example of a historically significant model, free up funds or

   space for firearms that I would prefer to collect, or to get rid of firearms that I i ply no

   longer wish to keep. It is my intention to continue buying and selling firearms, including

   self-defense weapons, at gun shows for my personal collection, and, to that end, I plan to

   attend a gun show within the next July, October and November 2024.

5. I am not a federal firearms licensee. Although I have occasionally bought and sold

   firearms through private sales, I have never been engaged in the business of dealing in

   firearms, as my sales of firearms have been made in connection with my firearm

   collection and hobby. While some of the firearms I ve collected have increased in value,




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   I do not make any significant net profit from my hobby, nor is that my predominant

   purpose in collecting. I appreciate the craftsmanship, design and history of individual

   firearms, a d accumulate them as relics of special interest, for nonco mercial recreation,

   for personal enjoyment and for self-defense.

6. I own firearms for their Constitutional purpose: as a right of the people to keep and bear

   Arms, for traditional lawful self-defense. I keep some of my firearms primarily for

   personal protection, and I sometimes replace these firearms by selling and buying new

   models to effectively replace them.

7. Part of the tradition of gun ownership is the history of my state. Kansas enacted its

   Constitution in 1859. Kansas was admitted as a state in 1861 with the enactment of the

   Kansas/Nebraska Act. Pursuant to that law, the residents of Kansas voted it a free state.

   The Kansas framers ratified that the people have right to bear rms for their defense

   and security.” This right had special importance prior to and during the Civil War, when

   guerilla pro-slavery “bushwackers” raided Kansas settlements and municipalities

   unprotected by federal troops. Later, my own home of Wichita became the destination of

   cowboys driving cattle up from Texas along the Chisholm Trail. Armed citizens were

   imperative to protect against highwaymen and other outlaws. Some of my collection

   includes firearms from that era including muzzleloading percussion and flintlock

   firearms, curios and relics from before 1898, my great-grandfather s handgun from when

   he practiced law and served in the Missouri house of representatives. It also contains

   firearms brought to the US by my grandfather in WWI and father in WWII, as well as

   firearms used in international and national competitions in the last 100 years, including

   Margaret Murdock s Anschutz Model 250 used in several inte ational competition




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    events (including the Montreal Olympics), and the Finnish army s biathlon rifle as well

   as several firearms used in the co monwealth games. I own historic firearms designed

   for and/or used in the Boar War, WWI, WWII, Korea, Desert Storm, Desert Shield, etc.

   Major themes which comprise the bulk of my collection include competitive firearms for

   state, national and international competition. Like my ancestors, I keep and bear arms for

   my defense and security.

8. In 2010, Kansas amended its constitution so that the right to bear arms, Section 4 of the

   Kansas Bill of Rights, reads: A person has the right to keep and bear arms for the

   defense of self, family, home and state, for lawful hunting and recreational use, and for

   any other lawful purpose. This Constitutional Amendment received support from 88.2%

   of the electorate. I also keep and bear arms for the defense of myself, my family, my

   home, and my state.

9. I am aware of the Final Rule that is at issue in this case and have reviewed it.

10. If the Final Rule goes into effect I believe that I will have to either give up selling

   firearms or register as a federal firearms licensee. It will immediately have this effect

   because of the burdens and multi-month application process associated with obtaining a

   license combined ith my intention to attend gun shows in the coming months with the

   expectation of buying and/or selling firearms for and/or from my personal collection. I

   believe my firearms transactions have always been lawful under federal law. I wish to

   continue altering, improving, and, if ever necessary, having the option to liquidate my

   firearms collection, without becoming a federal firearms licensee, but the Final Rule

   makes portions of such lawful activity seem suspect and potentially actionable.




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11. For example, various of the Final Rule s definitions are written so broadly that they cover

   conduct that Congress left la ful under the statute, or are written so narrowly that they

   eviscerate e plicit statutory protections for personal collections such as mine. The Final

   Rule arbitrarily define collection so narrowly that I am not even certain if my firearms

   collection still qualifies. It excludes firearms from someone’s personal collection if they

   are weapons for self-defense. 89 Fed. Reg. 29039. The Final Rule also prohibits

   purchasing additional firearms for individuals “liquidating all or part of their personal

   collection. Id. at 29092. Moreover, parts of the Final Rule are so convoluted, vague, and

   ambiguous that I (even as a lawyer myself) cannot determine what is prohibited versus

   what is allowed. I fea that the vague threats and ambiguous definitions in the Final Rule

   will be wielded as a weapon against me and persons like me, in order to threaten, coerce,

   and intimidate me into obtaining a license that federal law does not require.

12.1 am aware of the requirements of a federal firearms licensee and they are burdensome

   for someone such as myself who buys, sells, and collects firearms as a hobby.

13. In my experience of attending hundreds of gun shows, I a aware of the impact the Final

   Rule will have on gun shows overall.

14. Based on the info mation available, the Final Rule in this case is expected to decrease the

   s le of unlicensed firearms dealers by 10%. 89 Fed. Reg. 29054. My experience lea s

   me to believe that this 10% estimate is conservative, and sales could decrease by an even

   greater percentage.

15. The Final Rule will likely decrease the number of vendors that sell firearms at gun shows

   as those who are not federal firearms licensees (like me) will be less likely to attend, buy,

   or sell firearms. On the weekend of May 4,2024, at a gun show in Wichita, Kansas, over




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   100 collectors and dealers sought my opinion on the effect of the rule. It could be

   described as a panic.

16. Gun collectors like myself know that ATF has a history of enticing hobbyists into

   transactions the agency dubiously regards to be criminal. This problem was the entire

   reason Congress passed the Firearm Owners Protection Act, which has relevant language

   that was only slightly revised by Bipartisan Safer Communities of 2022. Every potential

   buyer or seller of firearms will fear being labeled as a dealer that is “engaged in the

   business” of dealing firearms, which could result in civil actions brought against them, or

   even criminal charges and dangerous raids by federal officials. See, e.g., Benjamin Hardy

   et ah, Illegal Guns Sales Led to Fatal ATF Raid on Airport Director Malinowski s Home,

   Affidavit Says, Ark. Times (M r. 21,2024), https://a ktimes.com/arkansas-

   bloo/2024/03/21/iudge-unseaIs-documeiits-in-malinowskl-c se (reporting on an Arkansas

   airport executive accused of “engaging in the business,” who died March 21,2024 after

   being shot in the head du ing a dawn raid of his house by ATF agents).

17. In light of this uncertainty, imagine that I was offering to sell a modem revolver from my

   collection because Eve acquired a superior handgun for my own use. If I were

   approached by a fellow hobbyist who instead wanted to buy a hunting rifle, would it be

   lawful for me to sell him a rifle from my collection? If I do not im ediately reject the

   idea, but tell him I have to think about what I might he willing to part with, have I offered

   to procure him a gun under the rales? If I ha en to own an unwanted rifle, do I become

   a dealer if I suggest a fair market price? Does it matter whether I am selling the rifle for

   more than I bought it for years ago? Should I keep purchase records to show a loss? The

   proposed rule suggests that even tracking this information might make me




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    presumptively a for-profit dealer. If the rifle still bears the price sticker from when I

   bought it, would that be sufficient for running afoul the rule? Would I have to prove how

   I intended to spend the money from the sale that it was being used to enhance another

   part of my collection? How could I do that, given that money is fungible? Even if I kept

   a separate account for this purpose, that itself could also be “presumptive evidence I am

   a dealer. Suppose my wife bought the rifle because she though it would go up in value

   and could be resold for a profit, am I breaking the rules if, unknown to me, my sale does

   cause a household profit on that rifle? And if I happen to know and could somehow

   prove that I would be selling the rifle for a loss and I have no pecuniary purpose, how

   could I know what the buyer s intent it? Is he planning to re-sell the rifle for profit

   because he knows someone else is specifically looking for the model? How could the

   buyer know what my intent is?

18. Returning to selling the modem revolver, would that even be permitted under the rules?

   While the rules draw a narrow exception for selling from a collection, self-defense

   weapons do not clearly fit within it. Would it matter how I used the revolver before

   selling it or how the buyer intended to use it? Would I have to prove that money from

   selling the revolver only went toward a new self-defense” weapon? How? If I sell the

   firearm by delivering it to a Federal Firearms Licensee so that the buyers background

   check is run, is that a defense? It is not included in statute or the rule.

19. Now say the collector buys my modem revolver and asks me if I have any historically-

   significant firearms I might sell. Have I run afoul the rules if I respond yes”? Could

   this itself that be considered an offer “to be a source of additional firearms for resale” as

   ATF has defined it? How could I rebut the presumption that the rules suggest I am




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    engaged in busi ess? Would I have to document in advance which firearms I m willing

   to sell in order to reach the narrow exception for liquidation allowed by the rules?

    How could I even document such a thing? Do I lose any hope of safe harbor by

    switching from a potential self-defense firearm into liquidating part of my collection?

   And if I use money from a self-defense” sale to buy a collectable firearm or vice

   versa have I run afoul the rules? Even if the purchase happens months later?

20. The potential consequences after a sale are also vague and potentially dire. For example,

   if I buy later the same model after selling a particular firearm, have I “restocked” it?

   Even if I sold the earlier firearm years earlier and forgot I d ever even owned it? In fact,

   if I buy any firearm after liquidating p rt of my collection am I “restocking ? That

   sounds absurd, because it would imply that one could never privately buy another gun

   after a partial liquidation, but the rules do not clearly allow it. I have no reasonable

   notice of what is allowed under the rules, and extremely narrow e emplary exceptions

   suggest that ATF thinks virtually no private sale should be per itted under the rules.

21. However you cut it, the transaction becomes risky from both my perspective and the

   buyer’s perspective, and the penalty for miscalculating the risk prosecution with the

   result prison. Private non-commercial transactions cannot easily occur under such

   rales if at all.

22. And the rales apply to more than sales. They could apply to simply loaning a rifle to

   someone, if the use could be deemed commercial. Suppose a friend of mine borrows a

   rifle for deer season, then sells the venison (deer meat) from his quarry to a friend or

   neighbor. Have I broken the rales because I am not a dealer and have unwittingly loaned

   a firearm for a colorable commercial purpose?




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   23.1 feel certain this will likely lead to a decrease in attendance at gun shows as fewer

       vendors will decrease the options available, including my personal o tions for selling my

       firearms, and reduce public interest in gun shows, reducing the avenues that lawful

       hobbyists like me have to expand their collection or sell unwanted parts of it. The

       universe of those purchasing opportunities will shrink also as the number of potential

       sellers is diminished.

   24.1 do not want to give up selling firearms at gun shows from my personal collection, but

       this Final Rule makes me believe that I will potentially be subject to civil, ad inistrative,

       and possibly criminal penalties if I do, even if using a federally licensed dealer.

   25. This belief is reinforced by the Final Rule providing that even a single firearm

       transaction or offer to engage in a transaction may require a federal firearms license. 89

       Fed. Reg at 29091.

   26. Further the declarant sayeth naught.

I declare under penalty of peijury under the laws of the United States of America and the State of

Kansas that the foregoing is true nd correct.




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